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Attorney for Defendants


                          IN THE UNITED STATES DISTRICT COURT

                          DISTRICT OF UTAH – CENTRAL DIVISION


 HAROLD MARK TORBETT (A.K.A.
 MARK TORBETT) and REGINA                       MOTION TO CONTINUE THE FINAL
 TORBETT,                                       PRETRIAL CONFERENCE SCHEDULED
                                                FOR MARCH 23, 2018 AT 10:00 a.m.
          Plaintiffs,

 vs.

 THE CITY OF OGDEN, OGDEN CITY                     Case No. 1:16-cv-00044-BSJ
 POLICE DEPARTMENT, CODY MARSH,                    Judge: Bruce S. Jenkins
 Z. MARTIN, T. WILLIAMS,

          Defendants.




       COME NOW Defendants, The City of Ogden, Ogden City Police Department, Cody

Marsh, Z. Martin and T. Williams by and through their attorneys, Stephen F. Noel and Thomas

Walker Farrell of Smith Knowles, P.C. and hereby moves this Honorable Court for a

modification of the current scheduling order and continuance of the currently scheduled pretrial

conference pursuant to Rule 16 of the Federal Rules of Civil Procedures as follows:
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          1.        The current schedule includes submission of a proposed and hopefully stipulated

pre-trial order on Wednesday, March 21, and a pre-trial conference set for Friday, March 23.

          2.        Today, Plaintiffs’ counsel contacted the undersigned explaining that he had been

out of town for many days and away from the office on a personal matter.

          2.        Plaintiffs’ counsel and the undersigned discussed his situation and determined that

they would try to make best efforts to have a proposed scheduling order provided to the Court by

Wednesday, March 21, 2018.

          3.        The concern, however, upon further contemplation, is that there will not be

enough time to allow the attorneys to come together and to discuss in any meaningful way the

different issues, facts, witnesses and documents that would be the subject of an appropriate

pretrial order. The undersigned attempted to confirm with Plaintiffs’ Counsel, but it is believed

that Plaintiff’s Counsel was traveling back to Utah at the time.

           4.       Because of many scheduling issues in this case, including the fact that the

Plaintiffs live out of state, the schedule in this matter has been amended multiple times.

          5.        The Court has been very patient in working with the parties and allowing the

scheduling order to be amended.

          6.        At one point, parties agreed that there would be an extension of the deadline only

for “Defendants’ injury/damage reports” and any reports Plaintiffs desired to provide in rebuttal

to those reports. (Doc. 32 ¶ 4 (c) and (d)). Accordingly, on April 18, 2017, the Court entered its




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Amended Scheduling Order with the foregoing limitation on the expert reports (Doc. 32, ¶ 4(c)

and (d)).

          7.        Because of certain continuing issues scheduling the Plaintiffs’ depositions, the

parties, on August 31, 2017, again jointly moved the Court for another brief extension of fact

discovery and of the expert disclosure and report deadline. But again, only for the Defendants

Injury/Damage Reports and any Plaintiff rebuttal reports (Doc. 33, ¶ 2).

          8.        The Court granted the motion, but in doing so the order failed to recognize the

distinction between the filing of Defendants’ expert reports on damages, and then any rebuttal

reports by the Plaintiffs’.

          9.        Accordingly, the parties jointly moved this Court for a corrected Amended

Scheduling Order in order to address the problem with the timing of expert reports. The Court

entered that corrected Amended Scheduling Order on November 20, 2017 (Doc. 37).

          10.       Accordingly, expert discovery was to be concluded by February 16, 2018, but it

kept a pretrial conference date of March 23, 2018. (Doc. 37, ¶ 4).

          11.       Once all experts had been disclosed on January 2, 2018, the parties made efforts

to schedule the deposition of the Plaintiffs’ expert, but the Plaintiffs’ expert’s schedule would not

allow for the deposition until after the close of expert discovery. Accordingly, Plaintiffs’ expert

was deposed on Friday, March 16, 2018, just a few days ago. This was the first date that the

parties’ and Plaintiffs’ expert’s schedule could be coordinated. 1


1
  Important information relevant to the Defense was learned in that deposition and an expedited transcript was
requested and received today.

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          12.       Now that the deposition of the Plaintiffs’ expert has been concluded, the

Defendants have finalized their motion for summary judgment and have filed it concurrently

with this motion to continue the pretrial conference. Defendants’ motion for summary judgment

was contingent upon the completion of expert discovery, as the deposition of Plaintiffs’ expert

witness provided valuable information concerning Plaintiffs’ claims. Although it was filed

within 30 days from the close of all discovery as per Rule 56(b), the current pre-trial conference

is scheduled for just a few days later.

          13.       In adopting the Corrected Amended Scheduling Order, the parties overlooked that

the time set for the final pretrial conference failed to account for the new expert discovery

deadline, which has been made even more difficult because the expert could not be deposed until

just days ago and would not accommodate any motions that would be filed at the close of expert

discovery

          14.       Accordingly, in an effort to achieve the maximum benefit of the pretrial

conference and to allow time for the adjudication of Defendants’ motion for summary judgment

and motions in limine, the undersigned hereby respectfully requests that the Court continue the

pretrial conference scheduled for Friday, March 23, 2018 to a date sufficient to allow for

adjudication of the Defendants’ motions, and that the Court adjudicate those motions prior to any

pre-trial conference.

          15.       Currently, there is no trial scheduled in this matter, and therefore no continuance

of a trial will be necessary. Moreover, this continuance will allow for the adjudication of certain


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issues which may resolve all or some of the case, thereby precluding the need for a trial, or

greatly narrowing the issues to be tried.

          DATED this 19th day of March, 2018.

                                                SMITH KNOWLES, P.C.

                                                  /s/ Stephen F. Noel                             .
                                                Stephen F. Noel
                                                Thomas W. Farrell
                                                Attorney for Defendants



                                   CERTIFICATE OF SERVICE

          I hereby certify that on this 19th day of March, 2018, a true and correct copy of the

foregoing document was sent via email to the following:

M. Tanner Clagett
HEPWORTH MURRAY & ASSOCIATES
140 South Main Street
Bountiful, UT 84010
tanner@hepworthlegal.com



                                                /s/ Shannon Strausbaugh
                                                Paralegal




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